                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:

JOSEPH DUMOUCHELLE FINE                            Case No. 19-56239-PJS
& ESTATE JEWELLERS, LLC,                           Chapter 7
                                                   Hon. Phillip J. Shefferly
               Debtor.
____________________________/

         ORDER GRANTING WALTER AND CHRISTINA MATHEWS’
             MOTION FOR ENTRY OF ORDER DIRECTING
            TRUSTEE TO SURRENDER MATHEWS’ JEWELRY

         This matter having been brought before the Court pursuant to the Motion of

Walter and Christina Mathews for Entry of Order Directing Trustee to Surrender

Mathews’ Jewelry (the “Motion”), and the Court having reviewed the Motion, the

Court having determined the Motion was duly filed and served in accordance with

applicable bankruptcy rules, and the Court being otherwise fully advised in the

premises:

         IT IS HEREBY ORDERED that Trustee, Mark H. Shapiro, shall forthwith

deliver to Walter and Christina Mathews, free and clear of any claim to or interest

of this bankruptcy estate, their jewelry identified by the Trustee as Lots 70 through

74; photographs of which have been attached as Exhibit B to the Motion.

         IT IS FURTHER ORDERED that neither the Trustee nor this bankruptcy

estate has any right or claim to the Mathews’ 14 karat yellow and white gold and


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  19-56239-pjs     Doc 138   Filed 06/23/20       Entered 06/23/20 16:43:37    Page 1 of 2
yellowish green diamond lady’s ring currently in the possession of Gemological

Institute of America.

      IT IS FURTHER ORDERED that if the Trustee receives, during the

course of his administration of this bankruptcy case, any information with respect

to the disposition of the Mathews’ 1.02 karat loose round brilliant cut diamond, he

shall provide such information to the Mathews’ attorney of record, Robert A.

Peurach, upon his receipt of same.


Signed on June 23, 2020




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 19-56239-pjs    Doc 138   Filed 06/23/20       Entered 06/23/20 16:43:37   Page 2 of 2
